Case 1:18-cv-22863-DPG Document 41 Entered on FLSD Docket 09/24/2018 Page 1 of 19



                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO. 1:18-cv-22863-DPG

  YACHT CLUB AT PORTOFINO
  CONDOMINIUM ASSOCIATION, INC.,

              Plaintiff,

  v.

  CENTURY SURETY COMPANY,
  MT. HAWLEY INSURANCE COMPANY,
  COLUMBIA CASUALTY COMPANY,
  TUDOR INSURANCE COMPANY,
  WILSHIRE INSURANCE COMPANY, AND
  AMTRUST INTERNATIONAL
  UNDERWRITERS LIMITED,

         Defendants.
  _____________________________________/


            YACHT CLUB AT PORTOFINO CONDOMINIUM ASSOCIATION,
            INC.’S RESPONSE IN OPPOSITION TO WILSHIRE INSURANCE
            COMPANY’S MOTION TO DISMISS COUNT V OF PLAINTIFF’S
                                 COMPLAINT

         Yacht Club at Portofino Condominium Association, Inc. (“YCP”), pursuant to Southern

  District of Florida Local Rule 7.1(c), submits its Response in Opposition to Wilshire Insurance

  Company’s (“Wilshire”) Motion to Dismiss Count V of Plaintiff’s Complaint [D.E. 31]

  (“Motion”), as follows:

                            INTRODUCTION AND BACKGROUND

         This action for breach of contract and declaratory relief arises from lawsuits styled Ger v.

  The Yacht Club at Portofino Condo. Ass’n, et al., Case No. 13-38303 CA 01 (Fla. Cir. Ct.

  Miami-Dade Cnty. filed Dec. 11, 2013) (the “Ger Action”) and Ger v. New Beach Constr.
Case 1:18-cv-22863-DPG Document 41 Entered on FLSD Docket 09/24/2018 Page 2 of 19
                                                                     CASE NO. 2018-020486-CA-01


  Partners Co., Case No. 15-3894 CA 01 (Fla. Cir. Ct. Miami-Dade Cnty. filed Feb. 18,2015) (the

  “New Beach Action”) (collectively, “Underlying Actions”).

            Wilshire issued and delivered to YCP two consecutive Commercial General Liability

  Policies covering the time period October 2, 2011 to October 2, 2013 (collectively, the

  “Policies”). D.E. 1-2 at 396-489. The Policies afford the following limits: $1,000,000.00 per

  occurrence and $2,000,000.00 General Aggregate; the “Products/Completed Operations

  Aggregate Limit” is “Included.” Id.

            Wilshire has refused to defend and indemnify YCP against the Underlying Actions,

  breaching its personal obligations to and abandoning YCP and, in violation of Florida law,

  delegating its duties to other carriers already defending YCP. YCP accordingly filed its breach

  of contract claim in Florida state court against Wilshire, alleging “[a]s a direct, foreseeable, and

  proximate result of Wilshire’s breach of its duty to defend YCP under the Wilshire Policies, YCP

  has suffered and continues to suffer damages.” D.E. 1-2 [Compl. at ¶ 64-70]. YCP’s complaint

  was removed to this Court. D.E. 1.

                                 SUMMARY OF THE ARGUMENT

            Wilshire argues it owes no duty to defend, claiming “Ger’s claims were well known prior

  to Wilshire’s coverage period and the damages alleged were also occurring, and alleged to have

  been occurring, prior to Wilshire’s coverage period.” Mot. at 2.

            Wilshire fails to demonstrate, as Florida law requires, the allegations of the Underlying

  Action complaints are cast solely and entirely within either of the two exclusionary provisions

  the carrier relies on and are subject to no other reasonable interpretation: exclusionary language

  in the Policies’ insuring agreements1 (“Anti-Montrose Provision”) and the Policies’ “Exclusion


  1
      Mot. at 3-4.

                                                 Page 2
Case 1:18-cv-22863-DPG Document 41 Entered on FLSD Docket 09/24/2018 Page 3 of 19
                                                                     CASE NO. 2018-020486-CA-01


  for ‘Bodily Injury’ or ‘Property Damage’ Which First Occurs Prior to the Inception of the

  Policy” (“Known Loss Exclusion”).2

            As demonstrated below, Wilshire’s Motion must be denied. First, the Policies and

  Florida law require each alleged instance of damage (each water penetration event) be treated

  and analyzed separately; Wilshire, to try to escape its defense obligation, improperly conflates

  the alleged damages and extrapolates that they all began and were known by YCP prior to

  inception of its Policies. Second, paragraphs 15, 29, and 36 of the Ger Action Amended

  Complaint and paragraph 16 of the New Beach Complaint, at least marginally and by reasonable

  implication, suggest at least some new and previously-unknown damages occurred during one or

  more of Wilshire’s Policies. Strictly construing the Anti-Montrose Provision and Known Loss

  Exclusion in favor of coverage, as the Court must, the Underlying Action complaints implicate

  potential coverage and trigger Wilshire’s duty to defend the Underlying Actions in their

  entireties.

            Wilshire also argues for dismissal, claiming YCP fails to allege facts showing it was

  damaged by Wilshire’s breach of contract and YCP has not sustained damages resulting from the

  carrier’s breach. Mot. at 9-10. This argument fails as well. First, YCP’s allegation that “[a]s a

  direct, foreseeable, and proximate result of Wilshire’s breach of its duty to defend YCP under the

  Wilshire Policies, YCP has suffered and continues to suffer damages” is sufficient at the motion

  to dismiss stage in this District to plead the required damages element. Second, YCP has

  incurred and paid unreimbursed out-of-pocket fees and costs to defend the Ger Action and

  significant dollars in repairs/attempts to repair the Ger Action plaintiff’s unit.

            Wilshire’s Motion should thus be denied.



  2
      Mot. at 5.
                                                  Page 3
Case 1:18-cv-22863-DPG Document 41 Entered on FLSD Docket 09/24/2018 Page 4 of 19
                                                                  CASE NO. 2018-020486-CA-01


                                   MEMORANDUM OF LAW

  I.     LEGAL STANDARD ON RULE 12(B)(6) MOTION TO DISMISS

         In considering a motion to dismiss, the Court must accept as true all allegations in the

  complaint and construe them in the light most favorable to the plaintiff. Jackson v. Bellsouth

  Telecomm., 372 F.3d 1250, 1262 (11th Cir. 2004); Watts v. Fla. Int’l Univ., 495 F.3d 1289, 1295

  (11th Cir. 2007). Defendant bears the burden of proving the complaint fails to state a claim for

  which relief may be granted. “The issue is not whether a plaintiff will ultimately prevail but

  whether the claimant is entitled to offer evidence to support the claims.” Scheuer v. Rhodes, 416

  U.S. 232, 236 (1974) (abrogated on other grounds by, Harlow v. Fitzgerald, 457 U.S. 800

  (1982)); see also Ashcroft v. Iqbal, 129 S. Ct. 1937, 1949 (2009) (a pleader need not show

  probability of entitlement to relief). The Eleventh Circuit summarized the pleading standard

  established by the United States Supreme Court in Bell Atlantic Corp. v. Twombly, 550 U.S. 544

  (2007) as follows:

         The Supreme Court’s most recent formulation of the pleading specificity standard
         is that “stating such a claim requires a complaint with enough factual matter
         (taken as true) to suggest” the required element. The standard is one of “plausible
         grounds to infer.” The Court has instructed us that the rule “does not impose a
         probability requirement at the pleading stage,” but instead “simply calls for
         enough facts to raise a reasonable expectation that discovery will reveal evidence
         of” the necessary element. It is sufficient if the complaint succeeds in
         “identifying facts that are suggestive enough to render [the element] plausible.”

  Watts, 495 F.3d at 1295-96.

  II.    FLORIDA’S DUTY      TO   DEFEND STANDARD       AND   PRINCIPLES   OF   INSURANCE POLICY
         INTERPRETATION

         The duty to defend is broader than the duty to indemnify and depends “‘solely on the

  allegations in the complaint[s] filed against the insured.’” Northland Cas. Co. v. HBE Corp.,

  160 F. Supp. 2d 1348, 1360 (M.D. Fla. 2001). Thus, when considering the duty to defend, the

  court ascertains whether the allegations of the underlying complaint implicate a potential for
                                               Page 4
Case 1:18-cv-22863-DPG Document 41 Entered on FLSD Docket 09/24/2018 Page 5 of 19
                                                                    CASE NO. 2018-020486-CA-01


  coverage. Id. “If the complaint alleges facts ‘partially within and partially outside the scope of

  coverage, the insurer is obligated to defend the entire suit.’” Id.; see also Creative Hospitality

  Ventures, Inc. et. al. v. U.S. Liab. Ins. Co., 655 F. Supp. 2d 1316, 1325 (S.D. Fla. 2009). “Any

  doubts regarding the duty to defend must be resolved in favor of the insured.” Jones v. Fla. Ins.

  Guar. Ass’n, Inc., 908 So. 2d 435, 443 (Fla. 2005); see also Carithers v. Mid-Continent Cas. Co.,

  782 F.3d 1240, 1246 (11th Cir. 2015) (carrier is required to resolve all uncertainties in favor of

  the insured).

         Under Florida law, exclusionary clauses are generally disfavored and are strictly

  construed to afford the broadest possible coverage. Westmoreland v. Lumbermens Mut. Cas.

  Co., 704 So. 2d 176, 179 (Fla. 4th DCA 1997); HBE Corp., 160 F. Supp. 2d at 1359. Where a

  carrier seeks to disclaim a duty to defend based on an exclusionary provision, the insurer must

  show “that the allegations in the [underlying] complaint are cast solely and entirely within the

  policy exclusion and are subject to no other reasonable interpretation.” IDC Constr. LLC v.

  Admiral Ins. Co., 339 F. Supp. 2d 1342, 1348 (S.D. Fla. 2004).

  III.   WILSHIRE FAILS TO DEMONSTRATE THE ALLEGATIONS OF THE UNDERLYING ACTION
         COMPLAINTS ARE CAST SOLELY AND ENTIRELY WITHIN THE ANTI-MONTROSE
         PROVISION OR KNOWN LOSS EXCLUSION

         A.       THE ANTI-MONTROSE PROVISION DOES NOT PRECLUDE A DEFENSE

         Wilshire argues the Policies’ Anti-Montrose Provision precludes its duty to defend

  because “[t]he allegations of both the Ger Action and the New Beach Action make clear that the

  damages at issue first occurred in 2006, well prior to the Policies incepting, and that the claims at

  issue were known [] by Ger and the Association as early as 2007.” Mot. at 6. Wilshire

  improperly conflates the alleged damages and extrapolates all damages began and were known

  by YCP prior to inception of its Policies.



                                                Page 5
Case 1:18-cv-22863-DPG Document 41 Entered on FLSD Docket 09/24/2018 Page 6 of 19
                                                                  CASE NO. 2018-020486-CA-01


                 1.     Each Alleged Instance of Damage Must Be Treated Separately

         Wilshire’s argument fails for several reasons. First, strictly construing the Anti-Montrose

  Provision to afford the broadest possible coverage for YCP, see Westmoreland, 704 So. 2d at

  179, each alleged instance of damage (each alleged water penetration event) is treated separately.

  In other words, while each event may be continuing or progressive in nature, each continuing or

  progressive event is analyzed separately – the Policies and Florida law simply require each event

  begin during one of Wilshire’s policy periods. See D.E. 1-2 at 396-489 (COVERAGE A

  BODILY INJURY AND PROPERTY DAMAGE LIABILITY, 1. Insuring Agreement, b. This

  insurance applies to…‘property damage’ only if: (2) The….‘property damage’ occurs during the

  policy period; and (3) Prior to the policy period, no insured…knew that the…‘property damage’

  had occurred, in whole or in part.”); S. Turner, “Which Occurs During the Policy Period” – No

  Previously Known Injury or Damage (the Montrose Provision), INS. COVERAGE            OF   CONSTR.

  DISPUTES § 6:50 (June 2018 Update) (explaining Anti-Montrose Provision does not preclude

  coverage for property damage that occurs during the policy period by beginning then; noting

  each instance of damage must be analyzed separately for purposes of Anti-Montrose Provision);

  Arnett v. Mid-Continent Cas. Co., No. 8:08–CV–2373–T–27EAJ, 2010 WL 2821981, at *3-4

  (M.D. Fla. July 16, 2010) (analyzing each instance of property damage separately [damage from

  pool de-humidifier vs. damage from HVAC system vs. damage from leaking windows vs.

  damage from stucco cracking] to determine whether same Anti-Montrose Provision precluded

  coverage); Keenan Hopkins Schmidt & Stowell Contractors, Inc. v. Cont’l Cas. Co., 653 F. Supp.

  2d 1255, 1269-72 (M.D. Fla. 2009) (analyzing each instance of property damage separately

  [paint defects vs. water intrusion] to determine whether known loss exclusion precluded

  coverage).


                                               Page 6
Case 1:18-cv-22863-DPG Document 41 Entered on FLSD Docket 09/24/2018 Page 7 of 19
                                                                      CASE NO. 2018-020486-CA-01


          The Ger Action Amended Complaint states “water penetration from distinct sources and

  conditions has permeated Plaintiff’s Unit and the Common Elements of the Condominium,

  entering Plaintiff’s Unit from distinct entry points commencing in 2006.” Ger Action Am.

  Compl. at ¶ 15 (emphasis added).             It further states “[o]n each occasion, Defendants

  Association…warranted that a complete and permanent repair had resolved each such incident;

  when in truth and in fact, in the past several years, the conditions they specifically warranted

  were remediated have recurred and new occurrences in distinct locations of water penetration,

  mold and mildew have also appeared.” Id. (emphasis added).

          Resolving any doubts regarding Wilshire’s duty to defend in favor of YCP, as the Court

  must, these allegations identify: (1) numerous water penetration events from different sources,

  conditions, and entry points; and (2) many different categories of property damage sustained to

  different areas of the unit – i.e., ceilings, walls, floors, terrace (id. at ¶ 29, a.-h.). Jones, 908 So.

  2d at 443; Carithers, 782 F.3d at 1246. Mt. Hawley thus improperly conflates the damages in its

  Motion in an attempt to justify its breach of its defense obligation.

                  2.      The Allegations Suggest New, Previously-Unknown Damage Occurred
                          During Wilshire’s Policies

          Second, a fair reading of the complaint as a whole suggests paragraph 15 of the Ger

  Action Amended Complaint alleges some water penetration events first occurred in 2006; not, as

  Wilshire suggests, that all damages first occurred in 2006. Ger Action Am. Compl. at ¶ 15. To

  wit, that same paragraph also states “in the past several years” “new occurrences in distinct

  locations of water penetration, mold and mildew” have appeared. Id. (emphasis added). The

  Underlying Action complaints also allege the plaintiff, Igor Ger, “has been [past tense]

  damaged” and “has suffered [past tense] damages.” Ger Action Am. Compl. at ¶¶ 29, 36; New

  Beach Compl. at ¶ 16.

                                                  Page 7
Case 1:18-cv-22863-DPG Document 41 Entered on FLSD Docket 09/24/2018 Page 8 of 19
                                                                  CASE NO. 2018-020486-CA-01


         Since the Ger Action Amended Complaint was filed March 26, 2014 and the New Beach

  Action Complaint was filed February 18, 2015, these allegations, “at least marginally and by

  reasonable implication”, suggest at least some new, previously-unknown damages occurred

  during one or more of Wilshire’s Policies, implicating potential coverage and triggering

  Wilshire’s duty to defend the Underlying Actions in their entireties. See, e.g., Carithers v. Mid-

  Continent Cas. Co., 782 F.3d 1240, 1247 (11th Cir. 2015) (“Property damage occurs when the

  damage happens [injury in fact trigger], not when the damage is discovered or discoverable

  [manifestation trigger/modified manifestation trigger].”); Trizec Props. Inc. v. Biltmore Constr.

  Co., 767 F.2d 810, 813 (11th Cir. 1985) (“the actual date that the damage occurred is not

  expressly alleged, but the language of the complaint, at least marginally and by reasonable

  implication, could be construed to allege that the damage…may have begun to occur

  immediately after installation, 1971 to 1975, and continued gradually thereafter over a period of

  time”); Travelers Prop. Cas. Co. of Am. v. Amerisure Ins. Co., 161 F. Supp. 3d 1133, 1137-38

  (N.D. Fla. 2015) (ruling carrier owed a defense where underlying complaint did not expressly

  allege when property damage occurred, following Trizec and Carithers); Amerisure Mut. Ins. Co.

  v. Summit Contractors, Inc., No. 8:11–CV–77–T–17TGW, 2012 WL 716884, at *11-14 (M.D.

  Fla. Feb. 29, 2012) (ruling the same Anti-Montrose Provision did not preclude carrier’s duty to

  defend against two underlying complaints claiming water intrusion and other defects, where the

  complaints did not expressly allege the dates the damages occurred); Transp. Ins. Co. v. Regency

  Roofing Cos., Inc., No. 07-80830-CIV, 2007 WL 2904156, at *4-5 (S.D. Fla. Oct. 4, 2007)

  (ruling the same Anti-Montrose Provision did not preclude duty to defend against an underlying

  complaint claiming water intrusion and other damages, where the complaint did not establish the

  insured knew of certain damages prior to policy inception); Creative Hospitality, 655 F. Supp. 2d


                                               Page 8
Case 1:18-cv-22863-DPG Document 41 Entered on FLSD Docket 09/24/2018 Page 9 of 19
                                                                   CASE NO. 2018-020486-CA-01


  at 1325 (“[I]f the complaint avers facts showing more than one basis for liability – one falling

  within the insurance coverage and the others, outside – the insurer must defend the entire suit”).

             In sum, Wilshire failed to carry its burden to demonstrate the allegations of the

  Underlying Action complaints “are cast solely and entirely within the [Anti-Montrose Provision]

  and are subject to no other reasonable interpretation.” IDC Constr., 339 F. Supp. 2d at 1348.

  Further, Wilshire’s failure to resolve all doubts regarding its defense obligation in favor of YCP

  constitutes a breach of the carrier’s duty to defend. See Jones, 908 So. 2d at 443.

                   3.     Wilshire’s Cases Do Not Support Dismissal

            Wilshire’s cases do not support dismissal. Interstate Fire & Casualty Co. v. Abernathy,

  93 So. 3d 352 (Fla. 1st DCA 2012)3 is not instructive. There, the court reversed the lower

  court’s entry of judgment in favor of the insured’s assignee, ruling fortuity and known loss

  principles prevented a certificate of insurance from extending coverage for an accident that had

  occurred, and the insured knew of, 4 days before the certificate was issued. Here, as stated in

  Section III.A supra, unlike in Abernathy, the allegations of the Underlying Action complaints, at

  least marginally and by reasonable implication, suggest at least some new, previously-unknown

  damages occurred during one or more of Wilshire’s Policies, implicating potential coverage and

  triggering Wilshire’s duty to defend.

            Wilshire cites Keenan Hopkins Schmidt & Stowell Contractors, Inc. v. Continental

  Casualty Co., 653 F. Supp. 2d 1255 (M.D. Fla. 2009) as supporting its position that the Policies’

  Anti-Montrose Provision precludes a defense. Mot. at 7. It does not. The court there did not

  analyze the Anti-Montrose Provision found in Wilshire’s Policies.4


  3
      Mot. at 7.
  4
   To the extent Wilshire also argues Keenan supports its position that a purported common-law
  known loss doctrine precludes a defense, that argument also fails. The court there expressly
                                                Page 9
Case 1:18-cv-22863-DPG Document 41 Entered on FLSD Docket 09/24/2018 Page 10 of 19
                                                                    CASE NO. 2018-020486-CA-01


             General Housewares Corp. v. National Surety Corp., 741 N.E.2d 408 (Ind. Ct. App.

   2000)5 and Westfield Insurance Co. v. Sheehan Construction Co., Inc., 580 F. Supp. 2d 701 (S.D.

   Ind. 2008)6 are neither binding nor instructive. The court in General Housewares addressed as a

   matter of first impression in Indiana whether the known loss doctrine applies to liability policies.

   741 N.E.2d at 413. Further, the General Housewares court stated partial summary judgment in

   favor of the carrier should have been entered by the lower court, where record evidence

   established the insured knew its liability in relation to contaminated sites had occurred prior to

   the policy periods. Id. at 417-18.

             The Sheehan court addressed at the summary judgment stage whether an Anti-Montrose

   Provision, not a known loss exclusion as Wilshire claims (Mot. at 8), precluded the insurer’s

   duty to indemnify. 580 F. Supp. 2d at 716. The court found there was no indemnity obligation

   because record evidence (letters to and from the insured) established the insured knew of all

   damages prior to policy inception. Id.

             Arnett v. Mid-Continent Casualty Co., No. 8:08–CV–2373–T–27EAJ, 2010 WL 2821981

   (M.D. Fla. July 16, 2010)7 does not dictate the result. The court there addressed at the summary

   judgment stage whether an Anti-Montrose Provision, not a known loss exclusion as Wilshire

   maintains (Mot. at 7), precluded the insurers’ duty to indemnify. Id. at *3-4. Further, the

   insured there, unlike YCP, admitted it was aware of the damages before one carrier’s (Mid-

   Continent) first policy incepted. Id. at *4. As to the other carrier’s (Great American) policy, the


   declined to address the carrier’s argument that a so-called common-law known loss doctrine
   precluded coverage. 653 F. Supp. 2d at 1269. The court, in fact, noted “it seems unlikely that
   Florida courts would recognize such a common-law doctrine.” Id. at 1269, n. 4.
   5
       Mot. at 7.
   6
       Mot. at 8.
   7
       Mot. at 7-8.

                                                Page 10
Case 1:18-cv-22863-DPG Document 41 Entered on FLSD Docket 09/24/2018 Page 11 of 19
                                                                   CASE NO. 2018-020486-CA-01


   record evidence established as follows: some damages (damage from the pool de-humidifier,

   and damage from the HVAC system) were not known to the insured prior to policy inception,

   while others (damage from leaking windows, and damage from stucco cracking) were. Id.

          Here, unlike in Keenan, General Housewares, Sheehan, and Arnett, the issue before the

   Court is the duty to defend. The duty to defend analysis is limited to the 8 corners of the policy

   and the underlying complaint; record evidence, like that considered by the courts in Keenan,

   General Housewares, Sheehan, and Arnett, is irrelevant to the defense issue. HBE Corp., 160 F.

   Supp. 2d at 1360.

          Quanta Indemnity Co. v. Davis Homes, LLC, 606 F. Supp. 2d 941 (S.D. Ind. 2009) is

   neither binding on the Court nor persuasive. There, the court found, at the summary judgment

   stage, the carrier owed no duty to defend pursuant to an Anti-Montrose Provision, not a known

   loss exclusion as Wilshire asserts (Mot. at 8), where the insured was served with the underlying

   complaint alleging bodily injuries on August 20, 2003, and thus knew of the injuries almost 2

   years before policy inception (June 1, 2005). Id. at 947-48. The court also concluded the Anti-

   Montrose Provision precluded a defense against the amended complaint, as it alleged an injury

   (death) that was simply a “continuation, change, or resumption” of the injuries detailed in the

   original complaint (electrical shock and brain stem injury). Id. at 948-49. Here, as outlined in

   Section III.A supra, unlike in Quanta, the allegations of the Underlying Action complaints

   reasonably suggest at least some new, previously-unknown damages occurred during one or

   more of Wilshire’s Policies, implicating potential coverage and Wilshire’s defense obligation.

          In addition, the Quanta court noted under Indiana law “courts may properly consider the

   evidentiary materials offered by the parties to show the coverage or exclusion”, and stated

   certain extrinsic record evidence buttressed its conclusion.     Id. at 949, n. 8.   The injured


                                               Page 11
Case 1:18-cv-22863-DPG Document 41 Entered on FLSD Docket 09/24/2018 Page 12 of 19
                                                                  CASE NO. 2018-020486-CA-01


   claimant’s physician testified via an affidavit that the injured claimant’s “injuries and his

   subsequent death were all proximately caused by the electrical shock that he suffered on

   September 6, 2002 [prior to policy inception].” Id. Florida law does not permit consideration of

   such record evidence when considering the defense question. HBE Corp., 160 F. Supp. 2d at

   1360.

           B.     THE KNOWN LOSS EXCLUSION DOES NOT PRECLUDE THE CARRIER’S DUTY TO
                  DEFEND

           Wilshire also claims the Known Loss Exclusion precludes its duty to defend because “the

   Underlying Actions allege knowledge by both the Association and Ger of the claimed damages

   years prior to Wilshire’s Policies incepting….”. Mot. at 8.

           The Known Loss Exclusion does not preclude a defense; Wilshire again failed to carry its

   burden to establish the allegations of the Underlying Action complaints “are cast solely and

   entirely within the [] [E]xclusion and are subject to no other reasonable interpretation.” IDC

   Constr., 339 F. Supp. 2d at 1348.

           Strictly construing the Known Loss Exclusion to afford the broadest possible coverage

   for YCP, see Westmoreland, 704 So. 2d at 179, the Known Loss Exclusion does not preclude

   Wilshire’s duty to defend the Underlying Actions for the reasons outlined in Section III.A supra.

   See also IDC Constr., LLC v. Admiral Ins. Co., 339 F. Supp. 2d 1342, 1350-51 (S.D. Fla. 2004)

   (ruling an even broader known loss exclusion did not preclude a defense because the insurer

   failed to carry its burden to demonstrate the allegations of the underlying complaint were “cast

   solely and entirely within the Exclusion” and “subject to no other reasonable interpretation”;

   concluding the underlying complaint, alleging water intrusion damages to different property

   components (drywall, carpeting, furnishings, and other property) in various locations from




                                               Page 12
Case 1:18-cv-22863-DPG Document 41 Entered on FLSD Docket 09/24/2018 Page 13 of 19
                                                                    CASE NO. 2018-020486-CA-01


   different sources/conditions/entry points, “implicate[d] potential coverage” because the

   complaint did not “specify the exact date when the damages first occurred”).

          Nor do any of the cases cited by Wilshire for this proposition support dismissal. For

   example, the carrier relies on Keenan to claim the Known Loss Exclusion precludes its duty to

   defend. Mot. at 7-8. The carrier’s argument is meritless. The Keenan court addressed at the

   summary judgment stage whether a different exclusion precluded the insurer’s duty to

   indemnify. 653 F. Supp. 2d at 1269-72 (looking to record evidence, including the insured’s

   memorandums and letters, and a change order, to assess the indemnity question). Here, unlike in

   Keenan, the issue before the Court is Wilshire’s defense obligation. The duty to defend analysis

   is limited to the 8 corners of the policy and the underlying complaint; record evidence, like that

   considered by the court in Keenan, is irrelevant to the defense issue. HBE Corp., 160 F. Supp.

   2d at 1360.

   IV.    YCP HAS SUFFERED DAMAGES AS A RESULT OF WILSHIRE’S BREACH OF CONTRACT,
          AND ALLEGES SAME, SUFFICIENT TO SUPPORT COUNT V

          A.      YCP HAS SUFFICIENTLY ALLEGED A BREACH OF CONTRACT CLAIM AGAINST
                  WILSHIRE

          Wilshire claims “the Association has failed to allege with any specificity what damage it

   has suffered as a result of said breach.” Mot. at 9. Wilshire misrepresents the level of pleading

   required on a motion to dismiss in this District. As the carrier admits, YCP alleges “[a]s a direct,

   foreseeable, and proximate result of Wilshire’s breach of its duty to defend YCP under the

   Wilshire Policies, YCP has suffered and continues to suffer damages.” Id.; D.E. 1-2 [Compl. at ¶

   77]. That allegation is sufficient at the motion to dismiss stage in this District to plead the

   required damages element. See, e.g., Rodriguez v. State Farm Mut. Auto. Ins. Co., No. 1:13-CV-

   21386-DLG, 2013 WL 12064853, at *2 (S.D. Fla. June 18, 2013) (denying carrier’s motion to


                                                Page 13
Case 1:18-cv-22863-DPG Document 41 Entered on FLSD Docket 09/24/2018 Page 14 of 19
                                                                   CASE NO. 2018-020486-CA-01


   dismiss complaint, finding allegation that “Plaintiff has suffered damages” “as a result of the

   breach” was sufficient to state damages element of breach of contract claim); Medytox

   Diagnostics, Inc. v. Samuels, No. 14-CIV-20719-ALTONAGA, 2014 WL 12606310, at *5 (S.D.

   Fla. July 18, 2014) (denying motion to dismiss complaint, finding allegation that plaintiff

   “suffered damage as a result” of the alleged contract breach was sufficient to state damages

   element of breach of contract claim; “Plaintiffs have pleaded they were damaged as a result of

   the breach, which is accepted as true at the motion to dismiss stage”); Yacht Club on the

   Intracoastal Condo. Ass’n, Inc. v. Lexington Ins. Co., No. 10–81397–CIV–HURLEY/HOPKINS,

   2010 WL 11561157, at *1 (S.D. Fla. Nov. 30, 2010) (denying carrier’s motion to dismiss

   amended complaint, finding allegation that plaintiff “has suffered general compensatory

   damages” was sufficient to state damages element of breach of contract claim and specific

   enough “to enable the defendant to formulate an intelligible answer”).

          B.      YCP HAS SUFFERED DAMAGES AS A RESULT                OF    WILSHIRE’S BREACH     OF
                  CONTRACT, SUFFICIENT TO SUPPORT COUNT V

          Wilshire erroneously posits, “the Association has suffered no damages”. Mot. at 10.

   YCP has incurred and paid out-of-pocket covered fees and costs to defend the Ger Action.

   YCP’s defending carriers have refused to reimburse YCP for those covered fees and costs, billed

   by the law firm Halpern Rodriguez, LLP (YCP’s defense counsel in relation to the Ger Action

   before insurer-appointed defense counsel took over YCP’s defense). See Aug. 11, 2014 Ltr. from

   Mt. Hawley to YCP; a copy is attached as Ex. A (without enclosures).8/9


   8
     The Letter’s enclosures (legal invoices) are not attached as they contain potentially-privileged
   information relevant to the defense of the underlying action.
   9
     A court may consider documents attached to a response to a motion to dismiss without
   converting the motion into one for summary judgment pursuant to the “incorporation-by-
   reference doctrine”; the attached documents must be “(1) central to the plaintiff’s claim and (2)
   undisputed.” Day v. Taylor, 400 F.3d 1272, 1276 (11th Cir. 2005); see First Mut. Grp., LP v.
                                              Page 14
Case 1:18-cv-22863-DPG Document 41 Entered on FLSD Docket 09/24/2018 Page 15 of 19
                                                                      CASE NO. 2018-020486-CA-01


          Further, while Mt. Hawley, Tudor, and Columbia are presently defending YCP, they are

   doing so under a reservation of rights to disclaim coverage. D.E. 12 [Answer at ¶ 23]; D.E. 13 at

   ¶ 24; D.E. 11 at ¶ 25.       While YCP disagrees with the carriers’ reservations, the carriers

   nonetheless have stated there is no coverage under their policies, citing various exclusions and

   provisions. And, Mt. Hawley has requested a declaration of no coverage from this Court. Mt.

   Hawley’s Countercl. [D.E. 12] at 24. Wilshire is not entitled – not should it be permitted – to

   shirk its personal and legal obligations to its insured simply because other carriers are presently

   providing a qualified defense.     See D.E. 1-2 [Compl. at ¶ 26]; Argonaut Ins. Co. v. Maryland

   Cas. Co., 372 So. 2d 960, 963 (Fla. 3d DCA 1979) (each carrier has an independent and personal

   contractual duty to defend its insured regardless of what any other carrier does; “The agreement

   to defend contemplates the rendering of services. The insurer must investigate, and conduct

   defense, and may if it deems it expedient, negotiate and make a settlement of the suit. These

   matters each insurer is required to do regardless of what the other insurer is doing”; “As to the

   assured, neither one is excused to any extent from its full duty to defend, no matter what the

   other does. The duty to defend is personal to the particular insurer. It is not entitled to divide that

   duty with or require contribution from the other.”); Columbia Cas. Co. v. Ker, Inc., No. 6:07–cv–

   65–Orl–22KRS, 2008 WL 11338289, at *10 (M.D. Fla. Oct. 29, 2008) (“An insurer must

   provide a full defense to the insured, and the presence of multiple insurers does not excuse any

   single insurer from fully defending the insured.”) (citing Argonaut); S. Plitt, D. Maldonado, J.

   Rogers & J. Plitt, Duty to Defend Among Primary Insurers; Generally, 14 COUCH               ON INS.   §



   Johnson, No. 14-24159-CIV-WILLIAMS, 2015 WL 12766387, at *3, n. 1 (S.D. Fla. May 12,
   2015) (applying the “incorporation-by-reference doctrine” in relation to documents attached to a
   response to a motion to dismiss). “‘[U]ndisputed’ means that the authenticity of the document is
   not challenged.” Day, 400 F.3d at 1276. The Letter attached as Exhibit A is central to YCP’s
   breach of contract claim (damages element) and cannot reasonably be disputed as inauthentic.

                                                  Page 15
Case 1:18-cv-22863-DPG Document 41 Entered on FLSD Docket 09/24/2018 Page 16 of 19
                                                                   CASE NO. 2018-020486-CA-01


   200:35 (June 2018 Update) (“[B]ecause each insurer has a separate and independent contractual

   duty to defend, the fact that another insurer may owe a duty to provide a defense will not excuse

   an insurer’s failure to honor its obligation”).

          In addition, YCP has paid significant dollars in covered repairs/attempts to repair the Ger

   Action plaintiff’s unit. See Apr. 11. 2018 Dep. Tr. of Ronnie Ben-David at 82:19-83:1; 83:13-

   84:18; a copy is attached as Exhibit B.10/11 Should the Court find YCP has not adequately alleged

   damages to support Count V of its complaint (YCP has), YCP will amend its complaint to list its

   damages. YCP thus requests any dismissal be without prejudice or with leave to amend. See S.

   Gensler, Rule 8. General Rules of Pleading, FED. RULES          OF   CIVIL PROCEDURE, RULES &

   COMMENTARY (Feb. 2018 Update) (“When a complaint is dismissed for failing to meet the

   requirements of Rule 8, the court should ensure that the plaintiff has, or has had, a fair

   opportunity to submit a sufficient pleading. One technique is for the dismissal to be without

   prejudice. Alternatively, the court can dismiss with leave to amend.”).

          C.      WILSHIRE’S CASES DO NOT SUPPORT DISMISSAL                  OF   COUNT V   OF   YCP’S
                  COMPLAINT

          The cases Wilshire cites in support of its position that YCP has failed to allege and has

   not sustained damages do not dictate dismissal. Caldwell v. Allstate Insurance Co., 453 So. 2d

   1187 (Fla. 1st DCA 1984) and Eller Media Co. v. National Union Fire Insurance Co. of

   Pittsburgh, PA, No. 07–20619–CIV, 2008 WL 4224292 (S.D. Fla. Sept. 11, 2008) are decisions
   10
     The information in the transcript attached as Exhibit B is also central to YCP’s breach of
   contract claim (damages element) and cannot reasonably be disputed as inauthentic. See n. 8
   supra.
   11
      These damages relate to Wilshire’s indemnity obligation – an unripe issue at this time. See
   D.E. 1-2 [Compl. at n. 5] (“YCP is not seeking a judgment at this time regarding Wilshire’s
   breach of its duty to indemnify YCP under the Wilshire Policies, as it is not yet ripe for
   adjudication. YCP, however, does not waive/is not estopped from and specifically reserves its
   right to claim Wilshire breached its duty to indemnify YCP under the Wilshire Policies for the
   Underlying Actions, once the Underlying Actions are resolved.”).

                                                     Page 16
Case 1:18-cv-22863-DPG Document 41 Entered on FLSD Docket 09/24/2018 Page 17 of 19
                                                                    CASE NO. 2018-020486-CA-01


   rendered on motions for summary judgment/on appeal from entry of summary judgment, rather

   than at the motion to dismiss stage.

          Nor does Hall v. HSBC Mortgage Services, Inc., 581 Fed. Appx. 800 (11th Cir. 2014)

   dictate the result urged by Wilshire. That case involved an appeal from the district court’s denial

   of the plaintiff’s motion for leave to file an amended complaint. Applying Georgia law, the court

   analyzed a cause of action arising from a mortgage company’s foreclosure on plaintiff’s property

   and subsequent efforts to evict him from the property.

          In sum, Wilshire’s cases are unpersuasive and do not support dismissal of Count V of

   YCP’s Complaint.

                                           CONCLUSION

          For the foregoing reasons, Yacht Club at Portofino Condominium Association, Inc.,

   requests the Court enter an Order denying Wilshire Insurance Company’s Motion to Dismiss

   Count V of Plaintiff’s Complaint [D.E. 31] and for such other relief this Court deems equitable,

   just, and proper.

                                                Respectfully submitted,

                                                VER PLOEG & LUMPKIN, P.A.
                                                100 S.E. Second Street
                                                Thirtieth Floor
                                                Miami, Florida 33131
                                                Tel: (305) 577-3996
                                                Fax: (305) 577-3558

                                                /s/ Christine A. Gudaitis_____
                                                Christine A. Gudaitis, Esq.
                                                Florida Bar No. 0502693
                                                Ashley B. Jordan, Esq.
                                                Florida Bar No. 71924
                                                cgudaitis@vpl-law.com
                                                ajordan@vpl-law.com
                                                Attorneys for Yacht Club at Portofino
                                                Condominium Association, Inc.

                                                Page 17
Case 1:18-cv-22863-DPG Document 41 Entered on FLSD Docket 09/24/2018 Page 18 of 19
                                                                  CASE NO. 2018-020486-CA-01


                                   CERTIFICATE OF SERVICE

          I hereby certify that a true and correct copy of the foregoing was served via transmission

   of Notices of Electronic Filing generated by CM/ECF on this 24th day of September 2018 on all

   counsel of record on the Service List below.

                                                        /s/ Christine A. Gudaitis
                                                        Christine A. Gudaitis, Esq.

                                          SERVICE LIST

           Christine A. Gudaitis, Esq.                  Lisa A. Pach, Esq.
           Ashley B. Jordan, Esq.                       CNA Coverage Litigation Group
           Ver Ploeg & Lumpkin, P.A.                    4631 Woodland Corporate Blvd.
           100 S.E. Second Street                       Suite 315
           Thirtieth Floor                              Tampa, FL 33614
           Miami, FL 33131                              Telephone: (813) 880-5165
           Telephone: (305) 577-3996                    Facsimile: (813) 880-5175
           Facsimile: (305) 577-3558                    Lisa.pach@cna.com
           cgudaitis@vpl-law.com                        donna.matesa@cna.com
           ajordan@vpl-law.com                          Attorneys for Defendant
           Attorneys for Plaintiff                      Columbia Casualty Company
           Yacht Club at Portofino Condominium
           Association, Inc.

           Ira S. Bergman, Esq.                         Garrett Raines, Esq.
           Dana S. Schulman, Esq.                       Ryan S. Stratton, Esq.
           Litchfield Cavo LLP                          Banker Lopez Gassler, P.A.
           600 Corporate Drive                          501 E. Kennedy Blvd., Suite 1700
           Suite 600                                    Tampa, FL 33602
           Ft. Lauderdale, FL 33334                     Telephone: (813) 221-1500
           Telephone: (954) 689-3000                    Facsimile: (813) 222-3066
           Facsimile: (954) 689-3001                    graines@bakerlopez.com
           bergman@litchfieldcavo.com                   Attorneys for Defendant
           schulman@litchfieldcavo.com                  Mt. Hawley Insurance Company
           Attorneys for Defendant
           AmTrust International Underwriters
           Limited




                                                  Page 18
Case 1:18-cv-22863-DPG Document 41 Entered on FLSD Docket 09/24/2018 Page 19 of 19
                                                             CASE NO. 2018-020486-CA-01


          Robert S. Covitz, Esq.                   Pedro E. Hernandez, Esq.
          Falk, Waas, Hernandez, Cortina,          Nicole Di Pauli Gould, Esq.
          Solomon                                  Hinshaw & Culbertson LLP
          & Bonner, P.A.                           2525 Ponce de Leon Blvd., 4th Floor
          1900 N.W. Corporate Blvd., Suite 210-E   Coral Gables, FL 33134
          Boca Raton, FL 33431                     Telephone: (305) 358-7747
          Telephone: (561) 367-2510                Facsimile: (305) 577-1063
          Facsimile: (561) 807-6633                phernandez@hinshawlaw.com
          serviceRcovitz@falkwaas.com              ndipauligould@hinshawlaw.com
          Attorneys for Defendant                  Attorneys for Defendant
          Tudor Insurance Company                  Wilshire Insurance Company

          Lauren S. Curtis, Esq.
          Traub Lieberman Straus &
          Shrewsberry LLP
          First Central Tower
          460 Central Avenue, Suite 1000
          St. Petersburg, FL 33701
          Telephone: (727) 898-8100
          Facsimile: (727) 895-4838
          lcurtis@traublieberman.com
          Attorneys for Defendant
          Century Surety Company




                                           Page 19
